69 F.3d 532
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Franklin E. DENNISON, Plaintiff--Appellant,v.C. DAVIS;  James E. Sligh, Jr.;  John Allen, Defendants--Appellees.
    No. 95-7285.
    United States Court of Appeals, Fourth Circuit.
    Oct. 30, 1995.
    
      Franklin E. Dennison, Appellant Pro Se.  Mark Wilson Buyck, Jr., Robert Thomas King, WILLCOX, MCLEOD, BUYCK, BAKER &amp; WILLIAMS, P.A., Florence, South Carolina, for Appellees.
      Before WILKINSON, NIEMEYER and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals an order of the magistrate judge granting Defendants an extension of time to file a responsive pleading.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    